                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                              NEWPORT NEWS DIVISION

__________________________________________
                                        )
UNITED STATES OF AMERICA,               )
FOR THE USE AND BENEFIT OF              )
MCKENNEY’S, INC.,                       )
                                        )
                Plaintiff,              )
v.                                      )                   Case No. 4:20-cv-00179
                                        )
LEEBCOR SERVICES, LLC                   )
                                        )
and                                     )
                                        )
THE CINCINNATI INSURANCE COMPANY, )
                                        )
                Defendants.             )
                                        )
                                        )
LEEBCOR SERVICES, LLC,                  )
                                        )
                Counterclaim Plaintiff  )
                                        )
v.                                      )
                                        )
UNITED STATES OF AMERICA,               )
FOR THE USE AND BENEFIT OF              )
MCKENNEY’S, INC.,                       )
                                        )
                Counterclaim Defendant. )

                                      COUNTERCLAIM

       Defendant and Counterclaim Plaintiff, Leebcor Services, LLC (“Leebcor”) by counsel,

hereby states as follows for its Counterclaim against Plaintiff and Counterclaim Defendant, United

States of America, For the Use and Benefit of McKenney’s, Inc. (“McKenney’s”):
                                            Introduction

       1.        Leebcor brings this Counterclaim to recover for the significant damages caused

by McKenney’s deficient and untimely work on the Project.

                                               Parties

       2.      Leebcor is a Virginia limited liability company with its principal place of business

in Williamsburg, Virginia.

       3.      McKenney’s is a Georgia corporation with its principal place of business in Atlanta,

Georgia.

                                        Jurisdiction and Venue

       4.      This Court has original jurisdiction over this Counterclaim pursuant to 28 U.S.C. §

1332, as this action is between two diverse parties and the amount in controversy exceeds

$75,000.00, exclusive of interest and costs.

       5.      This Court has personal jurisdiction over McKenney’s for this Counterclaim

pursuant to Virginia law (Va. Code § 8.01-328.1).

       6.      Venue is proper in the Newport News Division of the United States District Court

for the Eastern District of Virginia.

                                         Factual Background

       7.      In 2016, the United States Army Corp of Engineers (“USACE” or the

“Government”) awarded Leebcor the prime contract number W91278-16-D-0033 (the “Prime

Contract”) to renovate and upgrade an existing troop barracks located on Fort Benning, Georgia,

known as Building 3105, Starship Barracks (the “Project”).




                                                  2
       8.      The approximately 200,000 square foot building contained numerous areas –

company operations rooms, sleeping areas, laundry rooms, support areas, classrooms, and covered

training areas – and required a complete overhaul.

       9.      The prime contract price for Leebcor was $36.8 million and the federal government

allocated 435 calendar days for the construction phase, which was an aggressive, but manageable

timeline.

       10.     Pursuant to its role as the prime contractor on the Project, Leebcor accepted bids

for various subcontract work.

       11.     McKenney’s submitted a bid for the plumbing, heating, ventilation, and air

conditioning services for the Project.

       12.     Leebcor required an experienced mechanical subcontractor to oversee and manage

the plumbing and HVAC work.

       13.     McKenney’s advertised itself, falsely, as having successfully completed several of

these types of projects at Fort Benning, leading Leebcor to place its trust in McKenney’s ability to

do the job. Indeed, McKenney’s represented to Leebcor that it had firsthand experience with the

precise Project work.

       14.     After pre-contract negotiations, Leebcor and McKenney’s entered into a

Subcontract Agreement on January 10, 2017 in the amount of $10,163,970.00. A copy of the

Subcontract is attached as Exhibit A.

       15.     The Subcontract contains numerous important provisions including, but not limited

to the following:

       2.     PRIME CONTRACT/SPECIAL PROVISIONS
       Work performed under this Agreement will be in furtherance of work undertaken
       by Buyer under a prime contract (“Prime Contract”) between Buyer and US Army
       Corps of Engineers (“Buyer’s Client”). As such, Seller shall be bound to terms and

                                                 3
       conditions contained in the Prime Contract to the same extent as Buyer is bound to
       Buyer’s Client under the Prime Contract. A copy of such terms and conditions
       (“Prime Contract Flow down Provisions”) pertinent to Seller’s responsibilities are
       hereby included in Exhibit 5 attached.

Exhibit A, at 1 (Section 2 of the Subcontract).

       5.      INVOICES AND PAYMENT TERMS
       […] Seller agrees that payments owed by Buyer for performance hereunder may
       be offset by amounts equal to what Seller owes Buyer under this Agreement.

Id. at 2 (Section 5 of the Subcontract).

       8.       WARRANTY AND DEFECTIVE WORK CURE
       All Work shall be performed in a competent manner and shall reflect Seller’s best
       professional knowledge, judgment and accepted industry practice. All Work shall
       at all times be subject to Buyer’s review and inspection; but neither Buyer’s review
       and inspection nor failure to review or inspect shall relieve Seller of any obligation
       hereunder. […] If Buyer’s and Engineer reasonably determine the Work fails to
       conform to specifications or is otherwise defective, upon written notice to Seller,
       Seller shall promptly replace, correct or re-perform same Work promptly and at
       Seller’s expense. In the event that Buyer must re-perform or procure Work that has
       been reasonably determined by Buyer as not in compliance with this Agreement,
       Seller shall incur all expenses of such re-performance or procurement.

Id. at 3 (Section 8 of the Subcontract).

       12.     DEFAULT
       Time is of the essence in the performance by Seller of the Work. […] Seller shall
       be liable to Buyer for all costs incurred by Buyer in completing or procuring the
       completion of performance of the Work in excess of the price of the Agreement
       (whether or not Buyer exercises its option hereunder).

Id. at 4-5 (Section 12 of the Subcontract) (emphasis added).

       28.     LIQUIDATED DAMAGES
       [L]iquidated damages for this contract are Two Thousand and Nine Dollars and
       85/100 Center ($2,009.85) for each calendar day the project is not completed on
       time. If buyer is delayed because of the Seller, than the Buyer will assess
       Liquidated Damages to the Seller to the extent such damages are caused by fault of
       the Seller.

Id. at 8 (Section 28 of the Subcontract).

       Subcontractor shall agree to fully participate in the LEEBCOR SERVICES LLC
       Quality Control Plan and all the daily requirements for reporting of work

                                                  4
       performed, crew sizes, hours expended. Subcontractor shall designate a
       responsible Quality Control Representative who has the authority to act for the
       company in regard to quality issues, testing, inspection, and report to the
       LEEBCOR SERVICES LLC Quality Control Manager on a daily basis the
       measures required by Quality Control Specification. The Subcontractor agrees to
       provide access to his work for purposes of inspection. The LEEBCOR SERVICES
       LLC has emphasized that any variation whatsoever from the Contract Documents
       for the submittal being made to the A/E shall be clearly indicated and flagged.

Id. at 12 (Exhibit 1 to the Subcontract, Paragraph C.5).

       16.     The liquidated damages provision of the Subcontract acts as a flow-down provision

for liquidated damages that are assessed against Leebcor by USACE. The daily liquidated damages

amount ($2,009.85) in the Subcontract is identical to the liquidated damages amount in Leebcor’s

Prime Contract with USACE.

                        The Project Schedule and McKenney’s Delays

       17.     Leebcor received the Notice to Proceed (“NTP”) for the design phase of the Project

on November 15, 2016 and the contract time for design and construction was specified as five

hundred and forty (540) calendar days, making the required contract completion date to be August

26, 2018.

       18.     From the outset of the Project, McKenney’s was resistant and uncooperative with

the schedule timeframe set by the USACE to which it had agreed as part of the Subcontract.

       19.     Even though McKenney’s participated in the pre-construction scheduling

conference on January 31, 2017, and agreed to the original schedule methodology in that same

meeting, McKenney’s subsequently challenged the schedule and its plans to move forward on two

barracks simultaneously, after they failed to perform.

       20.     In fact, McKenney’s response to the Project schedule was a reflection of

McKenney’s awareness that it and its tiered subcontractors would not be able to keep pace with

the schedule – concerns that would become reality as the Project progressed.

                                                 5
       21.     Before the Project was able to get off the ground, the Government delayed the

Project by six (6) months in 2017 due to delays on a separate Fort Benning barracks project that

would have housed Military personnel relocated from Starship 3105. That other barracks project

was delayed and, as a result, Leebcor was forced to wait to proceed with the demolition.

Unsurprisingly, McKenney’s was a subcontractor on the other barracks project.

       22.     This delay by the Government caused Leebcor to issue a revised Published Project

Schedule that moved the Project start date from March 14, 2017 to approximately August 21, 2017

and a projected finish date of December 17, 2018.

       23.     Eventually the Project began and encountered significant delays as a result of

McKenney’s deficient and untimely work.

       24.     McKenney’s work was deficient in several areas, including (i) McKenney’s failure

to timely begin and complete the installation of the HVAC equipment for the roof; (ii) McKenney’s

failure to timely begin and complete the installation of the ductwork; (iii) McKenney’s failure to

timely begin and complete the insulation of the ductwork; (iv) failure to properly protect the

ventilation system components during construction; (v) failure to properly seal the ductwork and

associated components; (vi) failure to properly install plumbing hangers in the barracks bathrooms;

(vii) failure to comply with the Government and Leebcor’s quality control standards, as required

by the Government’s contract; (viii) failure to pass contractually-required leakage tests; (ix) failure

to properly oversee and manage its tiered subcontractors; and (x) failure to timely remedy its

deficient work upon request.

       25.     McKenney’s deficient and untimely work resulted in significant delays on the

Project, including (i) delays caused by McKenney’s failure to properly protect all ventilation

system components during construction; (ii) delays caused by McKenney’s failure to oversee and



                                                  6
manage its tiered subcontractors; (iii) delays caused by McKenney’s untimely installation of the

HVAC ductwork and insulation; (iv) delays in the testing and balancing of the HVAC system; and

(v) delays in the final testing requirements related to vent smoke tests, are just a few examples of

the numerous delays caused by McKenney’s untimely work.

          26.   As a result of McKenney’s deficient and contractually non-compliant work,

Leebcor was forced to incur additional expenses, including Subcontractor damages of: (i)

$76,000.00 to retain a new subcontractor to correct McKenney’s defective sheetrock work in the

20 large bathrooms and 16 smaller bathrooms; and (ii) $35,000.00 in change order work from

Addison Energy Technologies as a result of the delays caused by McKenney’s deficient HVAC

installation, delaying TAB execution.

          27.   As a result of McKenney’s deficient, delayed and untimely work, at least one

hundred and ninety-four (194) calendar days of delay were added to the Project as a direct result

of McKenney’s.      That delay directly resulted in significant damages to Leebcor totaling

$1,550,380.10, due to Leebcor’s extended general conditions costs and home office overhead

losses.

          28.   The Project concluded on April 27, 2019. A copy of the May 30, 2019

NAVCA/USACE Past Performance Questionnaire identifying the project completion date,

completed by Ms. Amy Vaughn, Resident Engineer, USACE Savannah District, is attached as

Exhibit B.

          29.   In total, McKenney’s untimely and deficient work caused at least 194 calendar days

of delay to the Project and resulted in damages to Leebcor, including general conditions damage,

home office overhead loss, and subcontractor back charges/damages, in the total amount of

$1,661,380.10.



                                                 7
                                  Count I: Breach of Contract

       30.     Leebcor incorporates the preceding paragraphs as if stated herein.

       31.     McKenney’s owed duties to Leebcor pursuant to the Subcontract to provide timely,

proper, and complete work in accordance with the Subcontract.

       32.     McKenney’s failed in its obligations to Leebcor when its work was deficient and

untimely, in breach of its Subcontract obligations.

       33.     Leebcor suffered damages as a result of McKenney’s breaches of its Subcontract,

including its untimely and deficient work, in the amount of $1,661,380.10.

       WHEREFORE, Defendant, Counterclaim Plaintiff, Leebcor Services, LLC respectfully

requests that this Court enter judgment in favor of Leebcor Services, LLC and against Plaintiff,

Counterclaim Defendant, United States of America, For the Use and Benefit of McKenney’s, Inc.,

award Leebcor Services, LLC damages in the amount of $1,661,380.10, plus costs, and interest

from the date of judgment, and grant such other and further relief as the Court deems necessary

under the circumstances.

Dated: December 9, 2020                               LEEBCOR SERVICES, LLC


                                                      /s/ Thomas A. Coulter
                                                      Thomas A. Coulter (VSB No. 46532)
                                                      Patrick D. Houston (VSB No. 92298)
                                                      WHITEFORD, TAYLOR & PRESTON, L.L.P.
                                                      Two James Center
                                                      1021 E. Cary Street, Suite 1700
                                                      Richmond, Virginia 23219
                                                      Telephone: (804) 593-1362
                                                      Facsimile: (804) 593-1363
                                                      E-mail: tcoulter@wtplaw.com
                                                      E-mail: phouston@wtplaw.com

                                                      Counsel for Defendants, Leebcor Services,
                                                      LLC and The Cincinnati Insurance
                                                      Company

                                                 8
                                CERTIFICATE OF SERVICE

        I hereby certify that on December 9, 2020, a true and correct copy of the foregoing was
electronically served on all counsel of record:

                                       Shelly L. Ewald
                            Watt, Tieder, Hoffar & Fitzgerald, LLP
                           1765 Greensboro Station Place, Suite 1000
                                   McLean, Virginia 22102
                                  Telephone: (703) 749-1000
                                  Facsimile: (703) 893-8029

                             Counsel for Plaintiff, McKenney’s, Inc.

                                                    /s/  Thomas A. Coulter
                                                    Thomas A. Coulter




                                                9
